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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


TRUSTEES OF BOSTON UNIVERSITY,

        Plaintiff,

vs.                                    C.A. No. 1:12-cv-11935-PBS

EVERLIGHT ELECTRONICS CO. LTD.
ET AL.,

        Defendants.



TRUSTEES OF BOSTON UNIVERSITY,

        Plaintiff,

vs.                                    C.A. No. 1:12-cv-11938-PBS

SEOUL SEMICONDUCTOR, LTD. ET
AL.,

        Defendants.


TRUSTEES OF BOSTON UNIVERSITY,

        Plaintiff,
                                       C.A. No. 12-cv-12326-PBS
vs.

EPISTAR CORPORATION,

        Defendant.




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TRUSTEES OF BOSTON UNIVERSITY,

        Plaintiff,

vs.                                    C.A. No. 12-cv-12330-PBS

LITE-ON, INC., ET AL.,

        Defendants.


TRUSTEES OF BOSTON UNIVERSITY,

        Plaintiff,
                                       C.A. No. 13-cv-10659-PBS
vs.

SAMSUNG ELECTRONICS CO., LTD.
ET AL.,

        Defendants.


TRUSTEES OF BOSTON UNIVERSITY,

        Plaintiff,
                                       C.A. No. 13-cv-11105-PBS
vs.

ARROW ELECTRONICS, INC., ET AL.,

        Defendants.


TRUSTEES OF BOSTON UNIVERSITY,

        Plaintiff,
                                       C.A. No. 13-cv-11097-PBS
vs.

AMAZON.COM, INC.,

        Defendant.
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TRUSTEES OF BOSTON UNIVERSITY,

        Plaintiff,
                                       C.A. No. 1:13-cv-11575-PBS
vs.

APPLE INC.,

        Defendant.



             DEFENDANTS’ JOINT OPPOSITION TO PLAINTIFF’S MOTION
            FOR ENTRY OF ITS GLOBAL PROTECTIVE ORDER POSITIONS




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I.       Introduction

         Defendants in the above-captioned cases (collectively, “Defendants”) offer the following

joint response in opposition to Plaintiff Trustees of Boston University’s (“Plaintiff”) motion for

entry of its proposed disputed Global Protective Order provisions (Dkt. 148).1 In the disputed

provisions, Defendants have made proposals narrowly tailored to address the legitimate concern

of misuse of their confidential information beyond the scope of this case. In particular:

     •   Defendants seek to protect their information properly designated as CONFIDENTIAL –
         OUTSIDE COUNSEL’S EYES ONLY2 from disclosure to employees of the parties and
         decision-makers that compete with the parties (including one of Plaintiff’s counsel who is
         a competitive decision-maker, as determined by another court in this Circuit, and based
         on evidence not before this Court when it considered certain protective order issues in the
         Everlight action) (Global Protective Order ¶¶ 11, 15);

     •   Defendants seek to preserve their ability to raise legitimate objections to proposed
         Outside Consultants in good faith and to prevent Plaintiff from relying on unspecified
         “discovery exemptions” to avoid identifying a potential consultant’s conflicting business
         interests in the area of gallium nitride (“GaN”) LEDs (¶¶ 19, 20); and

     •   Defendants seek to prevent Plaintiff’s outside counsel from leveraging Defendants’
         confidential information to acquire additional patents to wield against Defendants, given
         counsel’s frequent involvement in semiconductor patent litigation and asserted control of
         tens of thousands of patents in this area (¶ 16).

Defendants’ remaining proposals are similarly designed to prevent the unauthorized disclosure of

confidential information (e.g., to mock jurors, and through conversations and presentations),

while avoiding prejudice to Plaintiff.




1
  All citations to docket entries are for the consolidated Trustees of Boston University v.
Everlight Elecs. Co., et al. action (1:12-cv-11935-PBS). Substantially identical documents were
filed in each of the related actions identified in the caption of this document.
2
  See Global Protective Order, ¶ 6 at 4 (CONFIDENTIAL – OUTSIDE COUNSEL’S EYES
ONLY information defined as “financial or technical or commercially sensitive competitive
information” which “if disclos[ed] to others would create a substantial risk of serious injury to
the Producing Party.”)

                                                  1
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II.     Argument

          A.       Outside Consultants Who Are Competitive Decision-Makers of Parties or
                   Competitors of Parties Should Not Have Access to Defendants’
                   CONFIDENTIAL - OUTSIDE COUNSEL ONLY Information (¶15(c))

Plaintiff’s Proposal                                  Defendants’ Proposal
(¶15(c)) Outside Consultants of the Receiving         (¶15(c)) Outside Consultants of the Receiving
Party to whom disclosure is reasonably necessary      Party to whom disclosure is reasonably necessary
for this Litigation and provided that: (a) such       for this Litigation and provided that: (a) such
Outside Consultant has signed the “Agreement To       Outside Consultant has signed the “Agreement To
Be Bound By Protective Order” attached hereto as      Be Bound By Protective Order” attached hereto as
Exhibit A; and (b) no unresolved objections to such   Exhibit A; and (b) no unresolved objections to such
disclosure exist after proper notice has been given   disclosure exist after proper notice has been given
to all parties as set forth in Paragraph 20 below.    to all parties as set forth in Paragraph 20 below;
                                                      and (c) such Outside Consultant is not involved in
                                                      competitive decision-making, as defined by U.S.
                                                      Steel v. United States, 730 F.2d 1465, 1468 n.3
                                                      (Fed. Cir. 1984), on behalf of a Party or a
                                                      competitor of a party.

        In Paragraph 15(c), Plaintiff seeks to permit disclosure of “CONFIDENTIAL-OUTSIDE

COUNSEL EYES ONLY” materials to Outside Consultants who are involved in competitive

decision-making of behalf of a party or a competitor. The Federal Circuit has cautioned that

when individuals are engaged in “competitive decision-making” – including advice and

participation in pricing and product design made in light of similar or corresponding information

about a competitor – there is risk of misuse of confidential information, even inadvertently. U.S.

Steel Corp. v. United States, 730 F.2d 1465, 1468 & n. 3 (Fed. Cir. 1984). This is a critical

factor routinely used by courts in determining whether to approve a consultant/expert as truly

independent under protective orders. See Ares-Serono, Inc. v. Organon Int’l B.V., 153 F.R.D. 4,

5 (D. Mass. 1993) (citing “individual’s relationship to or status within the receiving party’s

business” and individual’s “involvement in receiving party’s competitive decisions”); accord AG

Fur Atherische Ole v. Gucci America, Inc., No. 04-cv-280, 2006 WL 838996, *2 (S.D.N.Y.

March 28, 2006); and see Vasudevan Software Inc. v. International Business Machines Corp., et

al., Civ. No. C 09–05897, 2010 WL 3629830, *4 (N.D. Cal. Sept. 14, 2010) (imposing U.S. Steel

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competitive decision-making bar as to experts in protective order; no person who engages in

competitive decision-making can access producing party’s highly confidential information);

Wang Laboratories v. CFR Associates, Inc., 125 F.R.D. 10 (D. Mass. 1989) (Saris, J.)

(defendant’s expert precluded from access to plaintiff’s confidential information because expert

was currently a consultant for competitors of the plaintiff).

        Defendants face a substantial risk of competitive injury if their highly technical and

commercially sensitive information is reviewed by an Outside Consultant who is also a decision-

maker for one of their competitors, regardless of whether the Outside Consultant agrees to abide

by the terms of the protective order. Plaintiff articulates no justification for permitting

competitive decision-makers to access the most confidential of Defendants’ documents, merely

asserting instead that “the entire marketplace of potential experts” would be foreclosed should

Defendants’ language be adopted. Dkt. 148 at 10. Plaintiff presents no evidence that it cannot

find an expert employed as an academic, or a consultant at a non-competitive company, or that it

has engaged in any related searching. Cf. Ares-Serono, 153 F.R.D. at 7 (“[t]his Court also finds

it material that plaintiffs underwent significant efforts to retain, albeit unsuccessfully, the

services of another expert”). Even if it had presented such evidence, Plaintiff has not shown—

and cannot show—why any purported hardship outweighs the serious threat of economic injury

to Defendants attendant with disclosure of their most sensitive information to competitive

decision-makers. There is no reason to disregard a standard relied on by numerous courts to

prevent dissemination of highly confidential information to conflicted experts.

          B.       Safeguards Regarding Disclosure of Potential Outside Consultants /
                   Experts And Their Selection Are Warranted (¶ 11, ¶ 19(h)/(i)/(j), & ¶ 20)

        Plaintiff seeks to water down several other critical safeguards for Outside Consultants,

attempting (i) to avoid disclosure of competing business interests of prospective consultants, (ii)


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to hamstring Defendants’ ability to object to such consultants, and (iii) to allow disclosure of

“CONFIDENTIAL – OUTSIDE COUNSEL EYES’ ONLY” documents to party-employees.

The Court should reject Plaintiff’s proposals.

                   1.    Plaintiff Has Identified No Applicable “Discovery Exemption” or
                         Privilege Which Should Restrict Identification of Potential Consultants

Plaintiff’s Proposal                                      Defendants’ Proposal
(¶19(h)) a list of all companies (including               (¶19(h)) a list of all companies (including
companies that retained the individual through            companies that retained the individual through
counsel or other agents) with which the individual        counsel or other agents) with which the individual
has consulted or by which the individual has been         has consulted or by which the individual has been
employed within the last five years unless such           employed within the last five years;
disclosure would violate a privilege or discovery
exemption under the Federal Rules of Civil
Procedure or the Federal Rules of Evidence;

(¶19(i)) an identification of any individual or entity    (¶19(i)) an identification of any individual or entity
with or for whom the person is or has been                with or for whom the person is or has been
employed or provided consulting services to               employed or provided consulting services to
relating to the design, development, operation, or        relating to the design, development, operation, or
patenting of GaN light-emitting diodes or GaN             patenting of GaN light-emitting diodes or GaN
laser diode semiconductor devices or relating to the      laser diode semiconductor devices or relating to the
acquisition of intellectual property assets relating to   acquisition of intellectual property assets relating to
the same unless such disclosure would violate a           the same;
privilege or discovery exemption under the
Federal Rules of Civil Procedure or the Federal
Rules of Evidence;


        The foregoing provisions concern the type of information which parties must disclose

regarding potential experts – in particular, those with potentially conflicting business interests –

so that other parties can determine whether or not there is good cause to object to their

appointment. Plaintiff largely agrees with the disclosure obligation, but then proposes an

exception that threatens to swallow the rule: that the party proposing the expert should not be

obligated to identify the entities with which the proposed expert has consulted if it would

“violate a privilege or discovery exemption under the Federal Rules of Civil Procedure or the

Federal Rules of Evidence.” Plaintiff cannot identify (and has failed to even mention this in its



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motion) any “discovery exemption” or “privilege” which could operate to “exempt” Plaintiff

from disclosing this information. This broadly-worded provision would seemingly provide

Plaintiff a vehicle to evade its disclosure obligations without even needing to articulate any

justification. In contrast, Defendants seek to identify whether potential experts have conflicting

business interests competitive with Defendants which warrant a determination that they are not

truly “independent” or pose too great a risk of misusing Defendants’ most sensitive information,

even if inadvertently.

                   2.    Defendants Should Be Afforded A Reasonable Opportunity To Object
                         To Potential Consultants

Plaintiff’s Proposal                                 Defendants’ Proposal
(¶20(3)) [Boston University opposes this             (¶20(3)) there is another objectively reasonable
provision]                                           concern that the Person will, advertently or
                                                     inadvertently, use or disclose Designated Materials
                                                     in a way or ways that are inconsistent with the
                                                     provisions contained in this Order.

        Plaintiff argues that concerns regarding designated experts should be “raised specifically

in accord with the appropriate motion practice.” Dkt. 148 at 10. This is exactly what Defendants

are attempting to do by including the above-referenced language regarding objections into the

expert designation and disclosure process. Under Plaintiff’s proposal, a party may only object to

disclosure of Designated Material to Outside Consultants if there is a “factually supported belief

that either the Person had a prior confidential relationship with an adverse Party [or] (2) the

Person is a competitive decision-maker.” Id. There are other situations, however, in which

Defendants could register legitimate objections – for example, a proposed expert that had a prior

confidential consulting relationship regarding the accused technology with a co-defendant

competitor that is not an adverse Party. Further, any potential prejudice to Plaintiff is minimal,

especially insofar as the protective order requires the objecting party to (i) set forth in detail the

facts upon which any objection is registered, and (ii) move for a protective order within a

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discrete time period or the objection is waived. Defendants’ proposed language – tied to an

“objectively reasonable concern” – has previously been adopted by this Court,3 and adequately

protects the parties.

                   3.   Disclosure of Highly Confidential Information to the Inventor of the
                        Patents-in-Suit And Employees Of The Parties Should be Prevented

Plaintiff’s Proposal                                  Defendants’ Proposal
(¶ 11) “Outside Consultant” shall refer to a person   (¶ 11) “Outside Consultant” shall refer to a person
with specialized knowledge or experience in a         with specialized knowledge or experience in a
matter pertinent to the Litigation, who has been      matter pertinent to the Litigation, who has been
retained by a Party or Counsel of Record to serve     retained by a Party or Counsel of Record to serve
as an expert witness or as a consultant in this       as an expert witness or as a consultant in this
Litigation.                                           Litigation, who currently or within the last three
                                                      years, is not an employee of or consultant for a
                                                      Party or of a competitor of an opposing Party.

        Plaintiff’s proposal regarding potential categories of Outside Consultants would

expressly permit selection of (i) its own employees, including, but not limited to the inventor of

the patents-in-suit, Dr. Theodore Moustakas, and (ii) employees of numerous Defendant

competitors, thereby allowing an improper back-door for disclosure of “CONFIDENTIAL-

OUTSIDE COUNSEL EYES ONLY” information to non-independent parties. Many courts

have agreed to the restrictions on Outside Consultant categories that Defendants seek in the

instant case. See, e.g., Tailored Lighting, Inc. v. Osram Sylvania Products, Inc., 236 F.R.D. 146,

149 (W.D.N.Y. 2006) (refusing to allow inventor to review highly confidential documents as “it

seems unreasonable to expect that anyone working to further his own scientific and technological

interests would be able assuredly to avoid even the subconscious use of confidential information

revealed through discovery that is relevant to those interests”); see also Safe Flight Instr. Corp.

v. Sundstrand Data Control Inc., 682 F. Supp. 20, 22 (D. Del. 1988) (refusing to allow plaintiff’s



3
 See, e.g., Figa v. Apple Inc., 1-08-cv-10304, Dkt. 25 at 17, ¶13(d) (D. Mass., June 18, 2008)
(Dein, J.).

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president who held numerous patents to review confidential information since he continued to

research and develop ideas in the marketplace).

        The disclosure of Defendants’ highly confidential information to Dr. Moustakas raises

particular concerns. Dr. Moustakas has been hailed as a “prolific academic entrepreneur” and

recently launched his own ultraviolet LED company, which may be based on the same GaN

material at issue in this action.4 As a current employee of Plaintiff, Dr. Moustakas also appears

to be actively involved in the expansion of Plaintiff’s patent portfolio, as he is an active

researcher in the field of LED technology with over thirty published patents worldwide and

several more pending in the related fields of nitride semiconductors, amorphous silicon, and

diamond materials. See Exhibit 2. His review of Defendants’ “CONFIDENTIAL-OUTSIDE

COUNSEL EYES ONLY” documents, therefore, raises a serious risk of inadvertent misuse of

highly sensitive information.

        The potential issue is not limited to Dr. Moustakas, as Plaintiff’s proposal would allow

for disclosure to a seemingly unlimited number of “other professors” of Plaintiff who, as

“Outside Consultants,” could also gain access to Defendants’ Designated Material when they

would not otherwise be able to do so. Plaintiff’s proposal would permit use of employees of the

parties as potential experts – presenting the very real possibility of disclosure of highly sensitive

business information among directly competing entities, especially given that many Defendants

compete with one another. Additionally, Defendants are concerned that Plaintiff may further its



4
  See, e.g., Exhibit 1, http://www.bu.edu/otd/2013/07/17/boston-university-names-theodore-
moustakas-its-innovator-of-the-year/; see also http://www.bu.edu/today/2013/bu-innovator-of-
the-year-theodore-moustakas/ (“Moustakas is also the founder of RayVio Corp., a venture-
backed company that makes ultraviolet LEDs, a compact, energy-efficient, durable, and
environmentally friendly substitute for mercury lamps used in water purification and disinfection
systems.”).

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attempts to hire former employees of Defendants as experts as a ruse to obtain trade secrets or

privileged information outside of the context of Court-controlled discovery.5

          C.       Safeguards Are Warranted to Bar Counsel Carte Blanche from Engaging
                   in Any PTO Proceedings in Any Role (¶ 16(a))

Plaintiff’s Proposal                                      Defendants’ Proposal
(¶ 16(a)) Pursuant to the Court’s July 19, 2013           (¶ 16(a)) [Defendants oppose this provision.]
ruling on this issue,* this Protective Order does not
affect the right of Plaintiff or Plaintiff’s counsel to
participate in any Inter Parties Review, Ex Parte
Review, reexamination, or opposition of the
patents-in-suit or of any other patent that has a
common priority claim with the patents-in-suit, that
claims priority to (directly or indirectly) to the
patents-in-suit, or that is otherwise related to the
patents-in-suit before any foreign or domestic
agency, including the United States Patent and
Trademark Office.
*
 Dkt. No. 110 in case nos. 12-cv-11935, 12-cv-
1326, 12-cv-12330 at 5 (“Accordingly, the Court
declines to order a patent prosecution bar.”).

        In Paragraph 16(a), Plaintiff appears to seek blanket pre-approval from the Court for any

of its counsel to participate in any way in any inter partes review, ex parte review,

reexamination, or opposition of the patents-in-suit or “any other patent that has a common

priority claim with the patents-in-suit, that claims priority to (directly or indirectly) to the

patents-in-suit, or that is otherwise related to the patents-in-suit.” Plaintiff identifies no basis for
5
  Plaintiff’s recent actions have demonstrated that it seeks to do just that. In particular, Plaintiff
recently contacted Brian Wilcox, a former Vice President of Sales for Seoul Semiconductor
North America, to attempt to hire him as an expert, even though he would not be qualified to
serve as an expert on any issue in this action. See Exhibit 3 (public LinkedIn profile for Mr.
Wilcox). Mr. Wilcox does, however, possess considerable insight into Seoul Semiconductor’s
confidential sales data and prior litigation efforts. When Seoul Semiconductor asked Plaintiff to
refrain from ex parte contact with Mr. Wilcox and others similarly situated in view of their
“possession of Seoul Semiconductor’s trade secrets and privileged information,” Plaintiff stated
that it would not do so and would instead “leave no stone unturned” and continue its
“investigation.” Exhibits 4, 5.




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such an extraordinary provision, which appears structured only to allow Plaintiff’s counsel to use

highly proprietary information about Defendants’ products and manufacturing learned through

discovery to seek new patent claims or amend claims before the PTO or foreign tribunals.

        Although the Court declined to enter a prosecution bar in the Everlight action, Case No.

1:12-cv-11935, Dkt. 110, that was because there was no evidence before the Court that

Plaintiff’s counsel were involved in relevant competitive decision-making, with respect to the

specific counsel and inter partes review proceedings at issue. Even setting aside the issue of

whether one of Plaintiff’s attorneys is a competitive decision-maker as discussed below,

Plaintiff’s proposal that it be granted blanket permission to engage in any prosecution-related

activity in any proceeding, whether initiated by defendants or not, and whether involving an

asserted patent or not, far exceeds the Court’s prior Order and is inappropriate.

        The Court’s Order itself is contrary to Plaintiff’s proposal. As the Court recognized,

patent prosecution activities are varied, and some such activities may constitute competitive

decision-making. See Dkt. 110, at 4-5 (quoting In re Deutsche Bank Trust Co. Ams., 605 F.3d

1373, 1378 (Fed. Cir. 2010)). Thus, the Court’s determination that a blanket prohibition on

engaging in any activity in inter partes review proceedings on an asserted patent was not

warranted at that time lends no support to the provision Plaintiff now proposes seeking a blanket

permission to engage in any prosecution activity, no matter how substantive or competitively

sensitive—and no matter whether the prosecution activities are those that constitute competitive

decision-making.6 Plaintiff has refused to forswear amending its claims or seeking new claims

designed to cover Defendants’ technologies in any such PTO proceedings, illustrating the risk


6
 For example, whereas there are strict limits on a patentee’s ability to submit amended
“substitute claims” in inter partes review proceedings, see 37 C.F.R. § 42.121, a patentee can
submit a virtually unlimited number of new claims in a reexamination, see 35 U.S.C. § 305.

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that Plaintiff’s counsel could use Defendants’ highly confidential information to seek claims

intended to cover Defendants’ products but avoiding the prior art. As the Court’s Order

indicates, the permissibility of litigation counsel’s involvement in prosecution should be

determined on a case-by-case, counsel-by-counsel basis, consistent with the Court’s Order and

controlling Federal Circuit authority.

          D.       Safeguards Regarding Disclosure To One Shore Chan Counsel Who Is A
                   Competitive Decision Maker Are Warranted (¶ 15(b))

Plaintiff’s Proposal                                   Defendants’ Proposal
(¶ 15(b)) Retained outside Counsel of Record to        (¶ 15(b)) Retained outside Counsel of Record to
any party in the above-captioned cases and the         any party in the above-captioned cases, provided
employees of such outside Counsel of Record (or        that such Counsel of Record is not involved in
such counsel’s law firm) who work under the            competitive decision-making, as defined by U.S.
supervision of, support such counsel and assist such   Steel v. United States, 730 F.2d 1465, 1468 n.3
counsel in this Litigation, and who are not            (Fed. Cir. 1984), on behalf of a Party or a
members, employees, officers or directors of a         competitor of a Party, and the employees of such
Party to this Litigation;                              outside Counsel of Record (or such counsel’s law
                                                       firm) who work under the supervision of, support
                                                       such counsel and assist such counsel in this
                                                       Litigation, and who are not members, employees,
                                                       officers or directors of a Party to this Litigation.

         As in the case of Outside Consultants, when litigation counsel is engaged in “competitive

decision-making” there is risk of misuse of confidential information, even inadvertently. U.S.

Steel, 730 F.2d at 1468 & n. 3. Access to confidential material “should be denied or granted on

the basis of each individual counsel’s actual activity,” with respect to competitive decision-

making. Id. at 1468. Competitive decision-making must be evaluated “by the facts on a counsel-

by-counsel [or consultant-by-consultant] basis,” Id. Other factors to be considered in

determining whether to deny outside counsel access to confidential information include the

hardship imposed by the restriction, the timing of the remedy, and the potential impairment of

the other party’s ability to prosecute or defend its claims. See ST Sales Tech Holdings, LLC v.

Daimler Chrysler Co., Civ. No. 6:07-cv-346, 2008 WL 5634214, at *2 (E.D. Tex. Mar. 14,

2008).

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        Defendants recognize that the Court previously found that there was insufficient evidence

that Plaintiff’s counsel was involved in relevant competitive decision-making, with respect to the

Everlight action and inter partes review proceedings, Case No. 1:12-cv-11935, Dkt. 110. Yet,

Defendants—most of whom were not parties to the prior proceedings in the Everlight case and

have not had the opportunity to be heard on this issue—have significant information that one of

Plaintiff’s numerous outside counsel, Michael Shore, is a competitive decision-maker who

should not be permitted access to “CONFIDENTIAL–OUTSIDE COUNSEL ONLY” material.

Disqualification of Mr. Shore from receipt and use of Defendants’ “CONFIDENTIAL–

OUTSIDE COUNSEL ONLY” information is an equitable and appropriate remedy here, given:

(i) Mr. Shore’s role in a third-party company which has litigated numerous semiconductor patent

infringement claims; (ii) the number of other counsel from two different law firms who presently

are representing the Plaintiff’s interests in these lawsuits; and (iii) the lack of prejudice Plaintiff

will incur, given the early stage of this litigation.

        In Fairchild Semiconductor Corp. v Third Dimension Semiconductor, Inc. (“Fairchild”),

the court determined that Mr. Shore “is involved in litigation-based competitive decision

making” for Third Dimension Semiconductor, Inc. (“3D”). Exhibit 6, Civ. No. 09-158-PH, 2009

WL 1210638, *10 (D. Me. Apr. 30, 2009) (emphasis in original). In particular, the court found

that Mr. Shore personally owns about three percent of 3D’s stock and is one of the three

Directors of 3D. Id. at *3. Mr. Shore is also a part owner of Shofin Enterprises LLC, which has

an investment interest in Power Mosfet Technologies, LLC (“PMT”), which was formed “for the

purpose of acquiring and asserting United States and Chinese patents” and partly owns 3D. Id.

According to publicly available information, 3D holds at least thirteen patents relating to




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MOSFET (metal-oxide-semiconductor field-effect transistor) semiconductor technology.7

Additionally, 3D has enforced those patents in at least seven different actions, some of which

were not resolved until after Plaintiff began filing the instant actions.8 The Fairchild court found

Mr. Shore to be a competitive decision-maker because he serves as 3D’s litigation counsel and is

involved in 3D’s patent licensing activities including patent litigation settlement negotiations.

Id. at * 9.9 Given the significant business of many Defendants in electronic components and

devices, and given that, as noted in Boston University’s Introduction to Electronics course,

“[t]he MOSFET is by far the most widely used transistor in both digital and analog circuits and


7
  According to the United States Patent and Trademark Office (“PTO”) records, the following
semiconductor patents issued or were subsequently assigned to 3D: U.S. Patent Nos. 5,216,275
(“Semiconductor Power Devices With Alternating Conductivity Type High-Voltage Breakdown
Regions”); 6,635,906 (“Voltage Sustaining Layer With Opposite-Doped Islands For Semi-
Conductor Power Devices”); 6,936,867 (“Semiconductor High-Voltage Devices”); 7,015,104
(“Technique For Forming the Deep Doped Columns in Superjunction”); 7,023,069 (“Method For
Forming Thick Dielectric Regions Using Etched Trenches”); 7,052,982 (“Method For
Manufacturing a Superjunction Device With Wide Mesas”); 7,109,110 (“Method of
Manufacturing a Superjunction Device”); 7,199,006 (“Planarization Method of Manufacturing a
Superjunction Device”); 7,227,197 (“Semiconductor High-Voltage Devices”), 7,271,067
(“Voltage Sustaining Layer With Opposite-Doped Islands For Semiconductor Power Devices”);
7,354,818 (“Process For High Voltage Superjunction Termination”); 7,439,583 (“Tungsten Plug
Drain Extension”); 8,071,450 (“Method For Forming Voltage Sustaining Layer With Opposite-
Doped Islands For Semiconductor Power Devices”). See Exhibit 7.
8
  Third Dimension Semiconductor, Inc. v. Rohm Semiconductor USA, LLC., 3:12-cv-02132 (N.D.
Cal. Apr 27, 2012) (settled August 2012); Third Dimension Semiconductor, Inc. v. Alpha &
Omega Semiconductor, Inc., 3:12-cv-02130 (N.D. Cal. Apr 27, 2012) (settled October 2012);
Third Dimension Semiconductor Inc. v. Fairchild Semiconductor Int’l Inc., 6:08-cv-00200 (E.D.
Tex. May 17, 2008); Fairchild Semiconductor Corp. v. Third Dimension (3D) Semiconductor
Inc., 2:08-cv-00158 (D. Me. May 17, 2008); Third Dimension Semiconductor Inc. v. Infineon
Techs. North Am. Corp., 6:08-cv-00129 (E.D. Tex. Apr 11, 2008); Power Mosfet Tech v.
Siemens AG, 2:99-cv-00168 (E.D. Tex. Aug 27, 1999).
9
 Accord Northbrook, Digital LLC v. Vendio Servs., Inc., C.A. 07-2250 (PJS/JJG), 2008 WL
2390740, at *16 (D. Minn. Apr. 4, 2008) (“Involvement in a party’s licensing activity …
implicates competitive decision-making”); Intel Corp. v. VIA Techs., Inc., 198 F.R.D. 525, 530
(N.D. Cal. 2000) (in house counsel’s “involvement in licensing through litigation constitutes
competitive decision-making, because her advice and counsel necessarily affect licensing
decisions.”).

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is the backbone of modern electronics,”10 there is a significant risk that 3D may seek to target

Defendants in future enforcement efforts.

        Here, all factors weigh in favor of precluding just one of Plaintiff’s attorneys, Mr. Shore,

from receiving Defendants’ “CONFIDENTIAL–OUTSIDE COUNSEL ONLY” information.

The risk of inadvertent disclosure or misuse of such information is high in view of the facts

recounted in the Fairchild case and the negotiations between the parties in the instant case. Mr.

Shore has already been found to be a competitive decision-maker for (and partial owner of) 3D,

an entity that exists only to acquire and enforce semiconductor patents, and Plaintiff seeks broad

discovery into the details of Defendants’ semiconductor products and manufacturing processes.

In negotiating the protective order, Plaintiff refused to disclose the role of its counsel with

respect to 3D or any other entities involved or potentially involved in the evaluation,

enforcement or acquisition of semiconductor patents or technology. Plaintiff would only

represent that its counsel, Mr. Shore, has “no interest in any company that makes, sells, offers to

sell, imports, designs or uses GaN LEDs.” This response fails to address connections with

entities otherwise involved in GaN or other semiconductor patents or technology, including

acquisition and enforcement of such patents, which might be asserted against Defendants in the

future. In contrast, the risk of harm to Plaintiff from the remedy requested by Defendants is

limited, as Defendants seek preclusion with respect only to Mr. Shore. Plaintiff is represented by

Shore Chan DePumpo LLP (“Shore Chan”), an intellectual property litigation firm with at least

ten other attorneys, and the McCarter & English law firm, with nearly fifty intellectual property

attorneys in its Boston office alone, according to the firms’ websites. With respect to timing,

Defendants have promptly raised this issue early in the case, prior to the entry of a protective

10
  Exhibit 8, EC410 Lab, “Transistor Curve Tracer,” at http://www.bu.edu/eng/courses/
ec410/documents/transistor-curve-tracer-ec410.pdf.

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order or a discovery plan. Finally, Defendants seek a narrowly tailored remedy, the preclusion of

a single attorney from receiving only “CONFIDENTIAL–OUTSIDE COUNSEL ONLY”

information.

          E.       Safeguards Regarding Disclosure to Counsel Are Warranted Given
                   Counsel’s Admitted Control of Over 67,000 Patents and Frequent
                   Involvement in Semiconductor Litigation (¶ 16(b))

Plaintiff’s Proposal                               Defendants’ Proposal
[Boston University opposes this provision]         Plaintiff’s Retained outside Counsel of Record and
                                                   Outside Consultants may not advise any clients or
                                                   otherwise participate in the acquisition of patents
                                                   involving GaN light-emitting diodes or GaN laser
                                                   diode semiconductor devices for the purpose of
                                                   asserting them against any of the Defendants for
                                                   two years after the conclusion of the Litigation,
                                                   including any appeals.

        Defendants request a patent acquisition bar preventing Plaintiff’s lawyers and experts

from involvement in acquiring additional patents involving GaN technologies for assertion

against Defendants, for a period of two years from the conclusion of this matter. In view of

Plaintiff’s counsel’s admitted control of over 67,000 patents relevant to semiconductors and its

frequent involvement in semiconductor litigation, this provision is both reasonable and

necessary. Courts have issued such a patent acquisition bar where, as here, defendants have

demonstrated a reasonable concern that those with access to their confidential information will,

inadvertently or otherwise, use that knowledge to assist in the acquisition of patents on behalf of

its clients to use against defendants.

        Plaintiff’s retained law firm, Shore Chan, purports to manage and look for opportunities

to enforce a large collection of patents relevant to semiconductor companies, and has litigated

more than ten semiconductor patent infringement cases.11 In Fairchild, the court found that this


11
  Third Dimension Semiconductor, Inc. v. Rohm Semiconductor USA, LLC, 3:12-cv-02132
(N.D. Cal. Apr 27, 2012); Third Dimension Semiconductor, Inc. v. Alpha & Omega

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firm manages a portfolio of over 67,000 patents, after counsel sent Fairchild an email claiming

that the patents were relevant to Fairchild:

                   The 67,000 patents to which he referred in that e-mail are patents
                   held by [Shore Chan]’s clients, not Shore’s personally. See id.
                   [Shore Chan] manages those patents for its clients’ benefit,
                   including reviewing the portfolios to identify infringers and
                   potential licensees. See id. It is Shore’s obligation to his clients as
                   their attorney to look for and investigate potential infringement of
                   the clients’ patents in all areas of technology, not just multiple
                   epitaxial (or trench) superjunction devices. See id.

Fairchild, 2009 WL 1210638, at *7.

        Where a firm frequently advises clients in obtaining and enforcing patents in a specific

subject matter area, a patent acquisition bar is warranted. See, e.g., Catch a Wave Techs. v.

Sirius XM Radio, Inc., No. C 12-05971-WHA, Dkt. 47 (N.D. Cal. Aug. 6, 2013) (Exhibit 9). In

Catch a Wave, the court granted a patent acquisition bar against a firm that frequently litigated

cases involving satellite transmission technology, finding reasonable the “quid pro quo” of

preventing “attorneys from—inadvertently or otherwise—relying on the confidential information

[obtained through the protective order] when they advise other parties anticipating litigation

against [defendant].” Id. at 2. Issuing an acquisition bar would not require a finding that

Plaintiff’s counsel is likely to violate the protective order, as the court explained: “Without

impugning the integrity of plaintiff’s counsel, an attorney who has learned the intricacies of [a

Semiconductor, Inc., 3:12-cv-02130 (N.D. Cal. Apr 27, 2012); HSM Portfolio LLC et al. v.
Fujitsu Ltd., 1:11-cv-00770 (D. Del. Sept 01, 2011); Greenliant Sys., Inc. v. Xicor LLC, 3:11-cv-
00631 (N.D. Cal. Feb 11, 2011); Cal. Inst. of Tech. v. STMicroelectronics NV, 2:10-cv-09099
(C.D. Cal. Nov 24, 2010); Cal. Inst. of Tech. v. Canon U.S.A., Inc., 2:08-cv-08637 (C.D. Cal.
Dec 31, 2008); Fast Memory Erase LLC v. Spansion Inc., 3:08-cv-00977 (N.D. Tex. Jun 09,
2008); Third Dimension Semiconductor Inc. v. Fairchild Semiconductor Int’l Inc., 6:08-cv-
00200 (E.D. Tex. May 17, 2008); Third Dimension Semiconductor Inc. v. Infineon Techs. North
Am. Corp., 6:08-cv-00129 (E.D. Tex. Apr. 11, 2008); Fujitsu Ltd. v. Nanya Tech. Corp. et al.,
4:06-cv-06613 (N.D. Cal. Oct 24, 2006); Fairchild Semiconductor Corp. v. Power Integrations,
Inc., 2:06-cv-00151 (E.D. Tex. Apr. 11, 2006); Power Mosfet Tech. v. Siemens AG, 2:99-cv-
00168 (E.D. Tex. Aug 27, 1999).


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defendant’s] secret technologies will be hard-pressed not to rely on that knowledge in a

subsequent suit against [the defendant]. The two-year patent acquisition bar allows time for the

limitations of human memory to run their course or for the information to become largely stale.”

Id.12

          F.       Safeguards Regarding Disclosure to Mock Jurors Are Warranted (¶
                   14(i)(2))

Plaintiff’s Proposal                                    Defendants’ Proposal
(¶ 14(i)(2)) No such mock jurors or focus group         (¶ 14(i)(2)) No such mock jurors or focus group
members shall retain any copies of any Designated       members shall receive or retain any copies of any
Material                                                Designated Material

        Defendants’ proposal limiting access to Designated Material by mock jurors is not

designed to inhibit Plaintiff’s counsel from having an effective mock jury as Plaintiff suggests.

Indeed, the parties may disclose presentations and other documents created by counsel that are

derived from Designated Material to mock jurors. There is no need (and Plaintiff fails to even

articulate one) why mock jurors would need to receive copies of highly confidential technical

and financial documents, when the parties are expressly permitted to resort to summary

presentations and documents created by counsel to explain the various aspects of a case instead.

          G.       Defendants’ Language On Use of Designated Material Is Helpful in
                   Avoiding an Unauthorized Disclosure (¶ 21)

Plaintiff’s Proposal                                    Defendants’ Proposal
(¶ 21) [Boston University opposes this provision]       (¶ 21) Information contained or reflected in
                                                        Designated Materials shall not be disclosed in
                                                        conversations, presentations by parties or counsel,
                                                        in court or in other settings that might reveal
                                                        Designated Material, except in accordance with the
                                                        terms of this Order.

12
   Accord Unwired Planet, LLC v. Apple, Inc., No. 3:12-cv-00505-RCJ (VPC), 2013 WL
1501489, at *7 (D. Nev. Apr. 11, 2013) (Exhibit 10) (determining good cause existed to include
acquisition bar that plaintiff’s outside counsel could not use confidential information for the
purpose of giving advice on patent acquisitions, as it “strikes a balance between [plaintiff’s] need
to access confidential information to prosecute this case, and [defendant’s] justifiable concern
that [plaintiff] not use this information to acquire patents to assert against [defendant].”)

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        Defendants believe the above-referenced provision is important to protect their

confidential information and ensure that all appropriate efforts are made to maintain their

confidentiality. It is unclear why Plaintiff opposes this provision, as Plaintiff offers no reasons in

its motion. See Dkt. 148.

          H.       To the Extent Plaintiff Seeks Production of Source Code, Appropriate
                   Protective Provisions Are Necessary (¶ 30(e))

Plaintiff’s Proposal                                 Defendants’ Proposal
(¶ 30(e)) [Boston University opposes this            (¶ 30(e)) This Order does not govern the production
provision]                                           of source code. If source code is to be produced in
                                                     this Litigation, the Parties will negotiate in good
                                                     faith provisions concerning the production of
                                                     source code and will submit to the Court an
                                                     Addendum to the Protective Order concerning the
                                                     production of source code. Source code will not be
                                                     produced in this Litigation until the Proposed
                                                     Addendum to the Protective Order concerning the
                                                     production of source code is entered by the Court.

        Plaintiff admits that “this is not a software case” and that it “does not believe that there is

any need for the production of any ‘source code’ in this case.” Dkt. 148 at 12. Defendants agree

that there should be no need to produce source code. Yet, the discovery of source code remains

an open dispute, with Plaintiff having argued for “no limitation on discovery of source code

outside those provided by the Federal Rules of Civil Procedure.” Dkt. 142 at 28. If source code

is ultimately produced in this litigation (contrary to Defendants’ contention), appropriate

safeguards are essential. Courts have recognized the need for additional protections for source

code, and even adopt default standards for source code access.13 Defendants are willing to

negotiate appropriate protections, if and when there is a need for source code discovery.


13
  See, e.g., Jagex Ltd. v. Impulse Software, 273 F.R.D. 357, 359 (D. Mass. 2011) (Gorton, J.)
(setting procedures for inspection of source code); District of Delaware Default Standard for
Access to Source Code, available at http://www.ded.uscourts.gov/court-info/local-rules-and-
orders/guidelines. Such provisions typically provide for secure storage and limited access to
source code, and limits on printing and duplication.

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Plaintiff, however, asks the Court to issue a protective order without any source code protections

whatsoever, arguing that the standard protective order designations “are enough.” Dkt. 148 at

12. This is insufficient and threatens to deny protections that are commonly and appropriately

afforded to source code.

III.    Conclusion

        For the reasons set forth above, the Court should enter Defendants’ proposed provisions

for the protective order and reject Plaintiff’s proposed provisions.




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Dated: September 20, 2013                     Respectfully submitted,


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                                              EPISTAR CORPORATION

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                                              SAMSUNG ELECTRONICS AMERICA,
                                              INC.,
                                              SAMSUNG LED CO., LTD.,
                                              SAMSUNG ELECTRO-MECHANICS
                                              CO., LTD.,
                                              SAMSUNG ELECTRO-MECHANICS
                                              AMERICA, INC., and
                                              SAMSUNG LED AMERICA, INC.

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                                              COMPONENTSMAX, INC., and
                                              NRC ELECTRONICS, INC.

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                                         APPLE INC.

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                                 CERTIFICATE OF SERVICE

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                                                        ___/s/Ming-Tao Yang______________
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